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                                          IN THE
                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                         EASTERN

ANGEL PEREZ,

                 Plaintiff,                                             No. 13 C 4531

vs.
                                                                        MAGISTRATE ROWLAND
CHICAGO POLICE OFFICERS JORGE L.LOPEZ                                   JUDGE ROBERT DOW JR
, EDMUND ZABLOCKI, JOSEPH WAGNER,                                       JURY DEMANI)
MRBERT Bf,TANCOURT, MATTHEW CLINE,
JOHN DOLAN,
and the CITY OF CHICAGO
                                                                                  FILED                I



                 Defendants.                                                         NOVI A?U4 dJ
                                                                                THOMAS G. BRUTON
                       rIRST AMENDEI)                                        CLERK, U;S, B|STRTGT€€t
                                                                                                     RT
                       COMPLAINT

                                            JURISDICTION


         1   .   The   jurisdiction of the court is invoked pursuant to the Civil Rights Act, 42

U.S.C. sections 1983 et seq. and 1988;the Judicial Code,28 U.S.C. sections 1331, and l3a3(a);

ttre Constitution of the United States; and supplemental jurisdiction pursuant to 28 U.S.C. section

1367.

                                               PARTIES

PIaintiff

        2.       Plaintiff, Angel Perez, is An adult male who, at all relevant times, was a resident

of Chicago, Illinois, Cook County.

Defendants

        3.       Defendant, Jorge L.Lopez ("Lopez"), was at all relevant times, was working as a

Chicago Police Officer, Star Numb er 17836, and was a resident of Cook County, Illinois. At all

relevant times, Defendant Lopez was acting in the course of his employment and under color of
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law. Defendant Lopez is being sued in his individual capacity.

        Defendant, City of Chicago, ( the   "CITY') is and was a municipality     and was, at all

relevant times, the employer and principal of DefendantLopez and all other unidentified police

officers that arrested and tortured the plaintiff, and as such, is and was at all relevant times

responsible for the supervision, training, policies, practices, and customs of the Chicago Police

Department and its officers.

                               FACTS COMMON TO ALL COUNTS

        4.     On October 20,2012 at approximately 5:00 p.m. plaintiffwas working as a

delivery driver for Castillo Delivery Service.

        5.     At the aforementioned date and time, the plaintiffwas returning to Desorak

Restaurant at 1514 W. Taylor Street, Chicago, Illinois, following a delivery.

        6.     As the plaintiff traveled eastbound on Taylor Street near the intersection of Taylor

and Ashland Streets, the   plaintiffwas pulled over by an unmarked police car by flashing

headlights.

        7.     Two Chicago Police offtcers approached the plaintiff s car, and did not identify

themselves, but called each other George @efendant Lopez) and John.

        8.     The oflicer that identified himself as John approached plaintiff s driver's side

door, opened plaintifPs car door and pulled the plaintiff out of his car.

        9.     Defendant Lopez opened the passenger door and began searching plaintiff s car.

        10.    Plaintiff was handcuffed and placed into the unmarked police car. Officer John

then drove plaintiff s car to the Harrison Street Police Station. Defendant Lopez followed in the

unmarked car with the plaintiffhandcuffed in the back seat. While on the way to the police
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station, the plaintiff asked that his lawyer be contacted.

        I   l.     Upon arriving at the police station, the plaintiff was searched in the parking lot.

Plaintiff was then brought into the Harrison Street Police Station through a back entrance,

brought to a small room and handcuffed to a bar on the wall.

        12.        Defendant Lopez took the plaintiff s cellular telephone and left the room leaving

Officer John in the room with the plaintiff. Plaintiff was not free to leave the police station as he

was handcuffed to the wall the entire time he was in the police station.

        13.        Defendant Lopez returned to the room and the two officers began assaulting the

plaintiff with questions regarding robberies and drug dealers in the Taylor Street area. Plaintiff

responded that he did not know anything about robberies or drug dealings in the Taylor Street

area and again and repeatedly requested that the officers call his lawyer. PlaintifPs lawyer was

never contacted and the questioning continued. The officers were particularly interested in why

the plaintiff had the telephone number of an individual by the name of "Dwayne" in his

telephone.

        14.        The interrogation of the plaintiff continued for approximately one and a half to

two hours. At the end of which the officers informed the plaintiffthat they were going to harass

him everyday on Taylor Street until they got what they wanted from him. Plaintiff was un-

handcuffed, given his car keys and told he could leave.

        15.        On October 21,2012, Defendant Lopez called plaintiff s cell phone and told the

plaintiff that what took place the night before was a mistake and that he needed the plaintiff to

sign some papers so that his car would not be towed. Defendant Lopez instructed the plaintiff to

meet him at      Al's Beef on Taylor Street   at 3:00 p   m   that day.
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        16.     The plaintiff went to Al's Beef at 3:00 p.m. and Defendant Lopez arrived in a

police squad with another officer that was tall, with red hair and a beard, whom the plaintiff

believes was identified as a Sergeant (this individual is hereafter referred to as " the Sergeant").

         17.    The officers drove to the back of the parking lot and the plaintiff followed them to

that location. The Sergeant exited the squad car grabbed the plaintiff and slammed his head on to

the trunk of his car, searched plaintiff, handcuffed      plaintiffwith his hands behind   his back and

placed him in the squad car.

         18.    Plaintiff was then taken back to the Harrison Street Police station to      a second


floor room with chairs and    a table.   Again, plaintiff was handcuffed to a bar, and this time he was

also placed in ankle shackles.

         19.    Plaintiff was held against his will in the room for several hours handcuffed and

shackled, and not free to leave the custody of the defendants. While the in the room several other

offrcers (approximately six offrcers) entered the room during the next several hours joining

Defendant Lopez and the Sergeant threatening the plaintiff with sending him to the Cook County

jail to be raped by gang   members. Furtheq that the (the officers) could do whatever they wanted

and that they would plant evidence on him and his         family members if he continued to refuse to

cooperate with them. Still, further that    if   he did not cooperate they would charge him a

conspiracy to obstruct justice.

        One of the officers in the room identified himself as the "Commander."

        20.     Plaintiff repeatedly requested his lawyer; that request was not acknowledged by

the officers.

        21.     The oflicers wanted the plaintiff to call or text "Dwayne" and set-up a drug
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purchase, but he refused to call or text Dwayne.

          22.     After   a period     of time refusing to call or text Dwayne, the officers began to pull

and contort the   plaintiff     s   body while he was handcuffed to the wall and shackled at his ankles

causing the    plaintiff severe pain. At one point, the Sergeant           sat on the   plaintiff   s chest and placed


his palms on the plaintiff s eye sockets and pushed hard against them causing plaintiff severe

pain. The Sergeant also drove his elbows into plaintiff s back and head causing severe pain.

Defendant Lopez was in the room at the time and did not intervene.

          23.     ln   an attempt to contact the outside world,         plaintiff agreed to make the call and            he

attempted to call a friend of his to inform him what was transpiring at which time an officer took

plaintiff s telephone and hung-up the call.

          24      After several hours of verbal and physical torture, Defendant Lopez and the

Sergeant were alone in the room with the plaintiff. The officers told plaintiff that                  if   he refused to

cooperate with them that they were going to give him a                "little taste" of what   he would be getting

at the Cook County       jail. They put plaintiffover     a chair and     pulled down his pants, and

Defendant Lopez said       "I   hear that a big black nigger dick feels like a gun up your a$s."

          25.     Then DefendantLopez andlor the Sergeant, knowing their actions created a strong

likelihood of great bodily harm and mental anguish, inserted a cold metal object, believed to be

one of officer's service revolvers, into the        plaintiff   s   rectum causing the plaintiff severe pain and

humiliation. The two offrcers laughed hysterically while inserting the object into the plaintiff                     s


rectum.

          26.     The Sergeant then said        "I almost blew your brains out." The offrcers told the

plaintiff that they would continue to insert the gun into his rectum until he cooperated with them.
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        27.     Plaintiffbegan to cry and agreed to cooperate with &e officers.

        28      The officers then took the ankle shackles off the plaintiffand took him from the

room to a car waiting outside. Plaintiffwas still handcuffed at this time. Once in the car, the

plaintiff was instructed, by the officers, to call Dwayne and set-up a purchase of either heroin or

crack cocaine. Plaintiff called Dwayne but Dwayne did not answer the telephone. Plaintiffwas

then instructed to text Dwayne, which he did and Dwayne then called the plaintiff.

        29.     Plaintiffspoke to Dwayne about purchasing one gram of heroin and agreed to

meet Dwayne at an agreed location and time. The police then brought     plaintiffto his   car,

provided the plaintiff with money to purchase the heroin, a box believed to be a GPS device and

an audio recording device to record the transaction.

        30.     Plaintiff completed the purchase from Dwayne for the Chicago Police and

returned the drugs and equipment to the police. The officers then wanted plaintiffto sell drugs to

Dwayne. Plaintifftold the officers that he would not be involved again with them.

        3l.     Plaintiffwas released from police custody at approximately 9:30 p.m. on October

21,20L2. Defendant Lopez subsequently repeatedly called plaintiff s cellular telephone from his

cellular telephone requesting additional meetings with the plaintiff. The Lopez calls stopped for

a period after the   plaintiff contacted the Independent Police Review Authority for the Chicago

Police Department and complained about the events of October 20 andoctober 21,2012..

        32.    Defendant Lopez arrested, without probable cause, restrained and refused to

release the plaintiff from custody on both october 20,2012 and October 21,2012.

        33.     At no time on either October 20,2012 or October 2T,2012, prior to plaintifPs

seizure and torture, did the plaintiff commit a crime.
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                             COUNT I
   EXCESSwE FORCE rN yTOLATION OB 42 U.S.C. $1983 - DEFENDANT LOPEZ

        34.    Plaintiff re-alleges and reincorporates paragraphs 1 through 33 as if fully set forth

herein as his paragraph34.

       35.     At all relevant times, Defendant Lopez had a legal duty to refrain from using

unnecessary and reasonable force under the circumstances.

        36.    The acts of Defendant Lopez in a) by handcuffing and shackling the plaintiff                     s


ankles; b) by refusing to contact    plaintiff    s   attomey; c) refusing to allow the plaintiffto leave the

police statior/room; d) by physically torturing the plaintiff on October 21,20L2; e) by pulling the

plaintiff s pants down, and by inserting a metal object into the plaintiffs rectum, or by assisting

another officer in inserting a metal object into the         plaintiff   s   rectum; and f) by torturing the

plaintiff until he agreed to commit a crime to stop the torture, constituted an unreasonable

seizure, excessive force and deprived the         plaintiffofhis right to be free from such conduct            as


guaranteed by the Fourth and Fourteenth Amendments to the United States Constitution.

       37.     At all relevant times, Defendant Lopez's action and/or omissions                  as they pertained


to the plaintiff were done maliciously, wilfully, wantonly, with deliberate indifference, and/or in

reckless disregard for the   plaintiff   s safety and constitutional rights.

       38.     The acts and/or omissions of Defendant Lopez proximately caused the plaintiff to

suffer both physical and psychological injuries, pain, suffering, humiliation and fear in the past

and in the future, some of the   plaintiff   s   injuries will be permanent.

       WHEREFORE, the plaintiff, Angel Perez, demands substantial compensatory damages
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against Defendant Jorge        L. Lopez, Star No. 17836, for the plaintiff   s physical and emotional


trauma, pain, injury, suffering, fear and humiliation, and additionally, because the defendant

acted maliciously,       wilfully, wantonly, with deliberate indifference, and/or in reckless disregard

for the plainti{f   s   constitutional rights, plaintiff demands substantial punitive damages from this

defendant, as well as costs, attorneys fees, and whatever additional relief this Court deems

equitable and just.

                                 COUNT II
       $ 1e83 DUE PROCESS CLArM FOR FATLURE TO TNTERVENE/PROTECT

        39.       Plaintiff re-alleges and reincorporates paragraphs 1 through 33 as if fully set forth

herein as his paragraph39.

        40.       Defendant Lopez, failed to intervene and/or protect the plaintiff from the Sergeant

and the other unidentified officers acts when they a) handcuffed and shackled the          plaintiff   s


ankles; b) allowed the Sergeant to physically attack the plaintiff and by twisting and contorting

the plaintiff s body; c) refusing to allow the plaintiff to leave the police station/room, or the

control and/or custody of the police; d) by standing by and allowing another officer to insert a

metal object into the plaintiff s rectum, and e) by failing to stop any of the above until the

plaintiff agreed to commit       a   crime, knowing said acts and his failure to protect Angel Perez, or

intervene to protect him, from these acts created a substantial risk of great bodily harm and

mental anguish depriving plaintiff of his constitutional rights without due process of law, in

violation of the Fourteenth Amendment to the United States Constitution.

        41.       Said acts and/or omissions of Defendant Lopez caused pain and suffering to the

plaintiff of   a physical and mental nature.
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                The acts andlor omissions of Defendant Lopez proximately caused the plaintiff to

suffer both physical and psychological injuries, pain, suffering, humiliation

and in the future, some of the   plaintiff   s   injuries will be permanent.

       WF{EREFORE, the plaintiff, Angel Perez, demands substantial compensatory damages

against Defendant Jorge L . Lopez, Star      No. 17836, for the plaintiffl s physical and emotional

trauma, pain, injury, suffering, fear and humiliation, and additionally, because the defendant

acted maliciously,    wilfully, wantonly, with deliberate indifference, and/or in reckless disregard

for the plaintiff s constitutional rights, plaintiff demands substantial punitive damages from this

defendant, as well as costs, attorneys fees, and whatever additional relief this Court deems

equitable and just.

                                                  COUNT TII
       STATE    LAW. INTENTIONAL INFLICTION OF EMOTIONAL                             DISTRESS
                                        DEFENDANT LOPEZ

        43.    Plaintiffre-alleges and reincorporates paragraphs I through 42 asiffully set forth

herein as his paragraph 43.

        44.    The actions of the Defendant Lopez, as set forth above, placed the plaintiff in fear

of his life and safety and in fear of receiving an assault and battery, as well as causing him the

emotional distress of fearing for his life and being sodomized again.

        45.    The actions of DefendantLopez, constituted extreme and outrageous conduct and

were done deliberately and intentionally and in a wilful and wanton manner.

        46.    Defendant Lopez intended that his conduct to inflict severe emotional distress

andlor knew there was a high probability that his conduct would cause severe emotional distress.

       47.     The conduct of DefendantLopez did in fact cause Angel Perez to suffer severe


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emotional distress.

            WHEREFORE, the plaintiff, Angel Perez, demands substantial compensatory damages

against Defendant Jorge L . Lopez, Star          No. L7836, for the plaintiff   s physical and emotional


trauma, pain, injury, suffering, medical expenses, loss of a normal life, fear and humiliation, and

additionally, because the defendant acted maliciously, wilfully, wantonly, with deliberate

indifference, andlor in reckless disregard for the plaintiffls constitutional rights, plaintiff

demands substantial punitive damages from this defendan! as well as costs, attorneys fees, and

whatever additional relief this Court deems equitable and just.

                                    COUNT IV
                  MONELL POLICY PRACTICE AND CUSTOMS VIOLATION
                           DEFENDANT CITY OT CHICAGO

        48.        Plaintiff re-alleges and reincorporates paragraphs I through 47 as if fully set forth

herein as his paragraph 48.

            49.    The actions of DefendantLopez, as alleged above, were done pursuant to one or

more   de   faclo policies, practices andlor customs of the Chicago Police Department, and

therefore, the City of Chicago.

        50.        On and before October 2A,2012, Defendant City of Chicago and its Police

Department had interrelated        de    facto policies, practices, and customs which included, inter alia.

the failure to properly train, supervise, discipline, counsel and otherwise control its police

officers, and thereby allowing them to engage in the excessive use of force, torture and other

police abuses, particularly in case where officers were allowed to torhrre and sodomize the

plaintiff within   a   police station.

        51.        In particulaq DefendantLopez, as well as several other police offrcers, were
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allowed to handcuff and shackle an individual that had not committed a crime, and had not been

charged with a crime. The officers were also allowed to verbally and physically torture the

plaintiff without intemrption, for several hours, inside the I l,r, District Police Station. Moreover,

during the hours of torture, supervising officers came into the room to identify themselves as

high ranking officers, thereby condoning the continued torhrre. The acceptance ofthe torture,

sodomy, and the participation by Defendant Lopez, the Sergeant and several other Chicago

Police officers, created a de facto policy throughout the   1 1'r,   District of the Chicago Police

Department of allowing and promoting the use of these technics on individuals innocent of any

crime, like the plaintiff.

        52.     As a direct and proximate cause of these policies, Angel Perez's constitutional

protected rights under the Fourth Amendment and the Due Process Clause of the Fourteenth

Amendment, as appliedby 42 U.S.C. section 1983, were violated and the defendant is liable to

Angel Perez for his injuries, pain, suffering, mental anguish, and humiliation.

        WHEREFORE, the plaintiff, Angel Perez, demands compensation for his compensatory

damages against the City of Chicago, including but not limited to, his physical injuries, pain,

suffering, mental anguish, medical expenses, loss of a normal life, and humiliation, and such

other relief as this Court deems just and equitable.



                                    COUNT VI
                       RESPONDEAT SUPERIOR - CITY OF CHICAGO

        53.     Plaintiff re-alleges and reincorporates paragraphs 43 through 47 as if fully set

forth herein as his paragraph53.

        54      The aforesaid acts and state law violations of the police officers as set forth above,




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were performed in the scope and course of their employment and were done so maliciously,

wilfully, wantonly, with deliberate indifference, andlor in reckless disregard for the plaintifPs

constitutional rights, and the City of Chicago is therefore liable as principal for the actions of its

employeesandloragentS,underthedoctrineo@,forthestatelawclaimsset
forth in Count   III   above.

       WHEREFORE, the plaintiff, Angel Perez, demands compensation for his compensatory

damages against the City of Chicago, including but not limited to, his physical injuries, pain,

suffering, mental anguish, medical expenses, loss of a normal life, and humiliation, and such

other relief as this Court deems just and equitable.



                                       COUNT VI
                       INDEMNIFICATION PURSUANT TO 745 ILCS IOI94A2

        55.      Plaintiff re-alleges and reincorporates paragraphs I through 54 as if fully set forth

herein as his paragraph 55.

        56.      Illinois law provides that public entities are directed to pay any tort judgment for

compensation damages for which its employees are liable for. DefendantLopez, as well as the

other unidentified Chicago Police Officers were, at all relevant times, acting in the scope and

course of their employment as members and agents of the Chicago Police Department under the

color of law.

        57.      Defendant City of Chicago is liable as principal for all tofts committed by its

employees.

       WHEREFORE, should defendant, Jorge Lopez or any other police officer be found liable

on one or more of the claims set forth in above, Plaintiff hereby demands that, pursuant to 745




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LCS 10/9-102, the defendant City of Chicago     be found liable for any judgrnent or settlement   for

damages obtained against said police offrcer defendants as well as for all attorneys'fees and costs

awarded or otherwise obtained.

                                            JURY DEMAND

       Plaintiff, Angel Perez, hereby demands   a   trial by jury pursuant to Federal Rule of Civil

Procedure 38(b) on all issues so triable.




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